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10                         UNITED STATES DISTRICT COURT
11
                          CENTRAL DISTRICT OF CALIFORNIA
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14     ARMAN J. DURANT,                      ) Case No. 2:17-cv-06803-VBF-JC
                                             )
15
                            Petitioner,      )
16                                           )
17                   v.                      ) JUDGMENT
                                             )
18     W.L. MONTGOMERY,                      )
19                                           )
20                         Respondent.       )

21          Final judgment is hereby entered in favor of the respondent and against
22
23 petitioner Arman J. Durant. IT IS SO ADJUDGED.
24
25
      Dated: September 18, 2020
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27                                   _______________________________________
28
                                     HONORABLE VALERIE BAKER FAIRBANK
                                     SENIOR UNITED STATES DISTRICT JUDGE
